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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA,

       -against-                                     Case No. S2 23-cr-490 (SHS)

ROBERT MENENDEZ et al.,                              UNDER SEAL

                   Defendants.



                       DECLARATION OF AVI WEITZMAN
                 IN SUPPORT OF SENATOR ROBERT MENENDEZ’S
                MOTION TO SUPPRESS SEARCH WARRANT RETURNS

I, Avi Weitzman, declare as follows:

       1.      I am an attorney licensed to practice law before this Court. I am a Partner in the

law firm of Paul Hastings LLP, counsel for Defendant Senator Robert Menendez in this matter. I

make this Declaration in Support of Senator Menendez’s Motion to Suppress. Unless otherwise

stated, the following facts are within my personal knowledge and, if called and sworn as a witness,

I could and would testify competently thereto.

       2.      Attached hereto as Exhibit A is a true and correct copy of a search warrant dated

January 24, 2022. The document comprising Exhibit A was produced by the Government in

discovery with Bates Number SDNY_R_0004181.

       3.      Attached hereto as Exhibit B is a true and correct copy of an affidavit submitted in

connection with an application for a search warrant dated January 24, 2022. The document

comprising Exhibit B was produced by the Government in discovery in this matter with Bates

Numbers SDNY_R_00004189-SDNY_R_00004385.




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       4.     Attached hereto as Exhibit C is a true and correct copy of a search warrant dated

June 15, 2022. The document comprising Exhibit C was produced by the Government in discovery

with Bates Numbers SDNY_R_00005323-SDNY_R_00005327.

       5.     Attached hereto as Exhibit D is a true and correct copy of an affidavit submitted in

connection with an application for a search warrant dated June 15, 2022.            The document

comprising Exhibit D was produced by the Government in discovery at Bates Numbers

SDNY_R_00005095-SDNY_R_00005318.

       6.     Attached hereto as Exhibit E is a true and correct copy of a search warrant dated

June 16, 2022. The document comprising Exhibit E was produced by the Government in discovery

in this matter with Bates Numbers SDNY_R_0005619-SDNY_R_0005625.

       7.     Attached hereto as Exhibit F is a true and correct copy of an application for a search

warrant and supporting affidavit dated June 16, 2022. The document comprising Exhibit F was

produced by the Government in discovery in this matter with Bates Numbers

SDNY_R_00005378-SDNY_R_00005616.

       8.     Attached hereto as Exhibit G is a true and correct copy of a search warrant dated

July 14, 2022. The document comprising Exhibit G was produced by the Government in discovery

with Bates Number SDNY_R_00005886.

       9.     Attached hereto as Exhibit H is a true and correct copy of a search warrant dated

September 20, 2023. The document comprising Exhibit H was produced by the Government in

discovery with Bates Number SDNY_R03_00000311-SDNY_R03_0000321.

       10.    Attached hereto as Exhibit I is a true and correct copy of an application for a search

warrant and supporting affidavit dated September 20, 2023. The document comprising Exhibit I




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was produced by the Government in discovery with Bates Numbers SDNY_R03_0000001-

SDNY_R_00000310.

       11.    Attached hereto as Exhibit J is a true and correct copy of a translation of an Arabic

language conversation occurring on August 16, 2019 involving a confidential source. The

document comprising Exhibit J was produced by the Government in discovery in this matter with

Bates Number SDNY_R17_00001606.

       12.    Attached hereto as Exhibit K is a true and correct copy of an FBI Form 302

summarizing the government’s July 14, 2022 interview of                            The document

comprising Exhibit K was produced by the Government in redacted form at Bates Numbers

SDNY_00103714-SDNY_00103718.

       13.    Attached hereto as Exhibit L is a true and correct copy of an FBI Form FD-1023

dated June 27, 2019 summarizing an interview of a confidential source on June 27, 2019. The

document comprising Exhibit L was produced the Government in redacted form at Bates Numbers

SDNY_00103550-SDNY_00103551.

       14.    Attached hereto as Exhibit M is a true and correct copy of an FBI Form FD-1023

dated June 1, 2019 summarizing an interview of a confidential source on May 20, 2021. The

document comprising Exhibit M was produced by the Government in redacted form at Bates

Numbers SDNY_00103625-SDNY_00103626.

       15.    Attached hereto as Exhibit N is a true and correct copy of an FBI Form FD-1023

dated August 4, 2021 summarizing an interview of a confidential source on August 1, 2021. The

document comprising Exhibit N was produced by the Government in redacted form at Bates

Numbers SDNY_00103631-SDNY_00103632.




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       16.    Attached hereto as Exhibit O is a true and correct copy of an FBI Form FD-1023

dated September 7, 2021 summarizing an interview of a confidential source on September 1, 2021.

The document comprising Exhibit O was produced by the Government in redacted form at Bates

Numbers SDNY_00103633-SDNY_00103634.

       17.    Attached hereto as Exhibit P is a true and correct copy of an FBI Form FD-1023

dated February 7, 2020 summarizing an interview of a confidential source on February 5, 2020.

The document comprising Exhibit P was produced by the Government in redacted form at Bates

Numbers SDNY_00103599-SDNY_00103600.

       18.    Attached hereto as Exhibit Q is a true and correct copy of an FBI Form FD-1023

dated March 5, 2020 summarizing an interview of a confidential source on March 4, 2020. The

document comprising Exhibit Q was produced by the Government in redacted form at Bates

Numbers SDNY_001035605-SDNY_00103606.

       19.    Attached hereto as Exhibit R is a true and correct copy of an FBI Form 302

summarizing an interview of             on June 16, 2022. The document comprising Exhibit R

was produced by the Government in in redacted form at Bates Numbers SDNY_00103837-

SDNY_00103839.

       20.    Attached hereto as Exhibit S is a true and correct copy of an FBI Form 302

summarizing an interview of Associate-1 (                    ) on June 16, 2022. The document

comprising Exhibit S was produced by the Government in redacted form at Bates Numbers

SDNY_00103815-SDNY_00103824.

       21.    Attached hereto as Exhibit T is a true and correct copy of an FBI Form 302

summarizing an interview of                 on June 16, 2022. The document comprising Exhibit

T was produced by the Government in redacted form at SDNY_00103712-SDNY_00103713.



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       22.    Attached hereto as Exhibit U is a true and correct copy of an FBI Form 302

summarizing an interview of                  on June 16, 2022. The document comprising Exhibit

U was produced by the Government in redacted form at Bates Numbers SDNY_00103678-

SDNY_00103682.

       23.    Attached hereto as Exhibit V is a true and correct copy of an FBI Form 302

summarizing an interview of              on June 16, 2022. The document comprising Exhibit V

was produced by the Government in redacted form at Bates Numbers SDNY_00103719-

SDNY_00103722.

       24.    Attached hereto as Exhibit W is a true and correct copy of email correspondence,

dated January 4, 2024 through January 10, 2024, between counsel for Senator Menendez and

counsel for the Government in this matter.

       25.    Attached hereto as Exhibit X is a true and correct copy of a public webpage entitled

“What does iCloud back up?” available at https://support.apple.com/en-us/108770.

       26.    Attached hereto as Exhibit Y is a true and correct copy of a webpage from the

Apple website entitled “Restore your iPhone, iPad, or iPod touch from a backup” available at

https://support.apple.com/en-us/HT204184.

       27.    Attached hereto as Exhibit Z is a true and correct copy of a public webpage from

the Apple website entitled “Use iCloud to transfer data from your previous iOS or iPadOS device

to your new iPhone, iPad, or iPod touch” available at https://support.apple.com/en-us/108344.

       28.    Attached hereto as Exhibit AA is a true and correct copy of certain text messages

from July through December 2017 extracted from a cellphone with call number 201-290-8400.

The document comprising Exhibit AA was produced by the Government in discovery in this matter

with Bates Numbers SDNY_00072770-SDNY_00072775.



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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct and that I executed this Declaration on January 22, 2024.




                                                    By: /s/ Avi Weitzman
                                                        Avi Weitzman




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